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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION

CORE WIRELESS LICENSING             )
S.A.R.L.,                           )
                                    )
     Plaintiff,                     )
                                    )   Civil Action No. 2:14-cv-911 (lead case)
v.                                  )   Civil Action No. 2:14-cv-912 (consolidated)
                                    )
LG ELECTRONICS, INC., and LG        )   JURY TRIAL DEMANDED
ELECTRONICS MOBILECOMM              )
U.S.A., INC.                        )
                                    )
     Defendants.                    )
                                    )

     DEFENDANTS’ MOTION TO CONSOLIDATE AND TO AMEND DOCKET
                         CONTROL ORDER
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I.        INTRODUCTION

          Defendants LG Electronics, Inc. and LG Electronics Mobilecomm U.S.A., Inc.

(collectively “LG”) respectfully request an order consolidating Case No. 14-cv-00911 (“LG 1”),

with Case No. 14-cv-00751 (“Apple 2”), and consolidating Case No. 14-cv-00912 (“LG 2”) with

Case No. 14-cv-752 (“Apple 3”). This consolidation will ensure that cases involving the same

patents are appropriately aligned, and will in turn ensure that the Court does not conduct multiple

Markman hearings and make other duplicative decisions regarding the same patents.

Alternatively, LG requests that this Court enter an order aligning the schedules of Plaintiff’s

actions against LG with Plaintiff’s earlier filed actions against Apple, Inc. (“Apple”). Finally,

LG requests that the Court extend several dates in this case for good cause, including dates of the

claim construction hearing, close of fact discovery and trial in this case, as set forth below.

          Plaintiff Core Wireless Licensing S.a.r.l. (“Core Wireless”) has five actions pending

before this Court:

Case              Asserted Patents                            Overlap
      Apple 1
                  Alleged to be “standards-essential”         All patents overlap with LG 2
     12-cv-100
      Apple 2
                  Not alleged to be “standards-essential”     5 of 6 patents overlap with LG 1
     14-cv-751
      Apple 3
                  Alleged to be “standards-essential”         All patents overlap with LG 2
     14-cv-752
       LG 1
                  Not alleged to be “standards-essential”     All patents overlap with Apple 2
     14-cv-911
       LG 2                                                   11 of 13 patents overlap with Apple 1
                  Alleged to be “standards-essential”
     14-cv-912                                                and Apple 3

All five patents LG is accused of infringing in LG 1 are at issue in Apple 2. All but two of the

thirteen patents LG is accused of infringing in LG 3 action are at issue in Apple 1 and Apple 2.

          Currently, Apple 2 and Apple 3 are consolidated for scheduling, and LG 1 and LG 2 are


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consolidated for all purposes. As a result, the Court has set two separate claim construction

hearing dates—one for LG to address all 18 patents asserted against it, and another for Apple to

address the 11 patents asserted against it in Apple 2 and Apple 3. With almost complete overlap

between the patents Core Wireless asserts against Apple and LG, the Court has scheduled two

separate claim construction hearings on the same patents asserted by the same Plaintiff.

Consolidating these cases on a different basis will make better use of the Court’s time, and

ensure the parties’ common issues of law and fact are determined consistently.

       LG has conferred with both Apple and Core Wireless regarding the relief sought herein.

Apple supports a meet-and-confer process in which Core Wireless, LG, and Apple would discuss

scheduling and procedural issues to try to promote a consistent approach across the parties’

cases. Apple has not taken a position on any specific scheduling or procedural issues, pending

that three-way discussion. Core Wireless opposes LG’s proposal.

II.    STATEMENT OF FACTS

       Nearly all of the eighteen patents Core Wireless asserts against LG are also asserted

against Apple. In LG 1, Core Wireless alleges that LG infringes U.S. Pat. Nos. 8,713,476;

8,498,671, 8,434,020, 7,072,667, and 5,907,823. (See Case No. 14-cv-00911, Compl., Dkt. No.

1, ¶ 13.) In Apple 2, Core Wireless alleges that Apple infringes these same patents, along with

U.S. Pat. No. 7,693,552. (See Case No. 14-cv-00751, Compl., Dkt. No. 1, ¶ 13.) These patents

are not alleged to be standards-essential.

       In LG 2, Core Wireless alleges that LG infringes thirteen purported “standards-essential”

patents: U.S. Pat. Nos. 5,946,634, 6,266,321, 6,477,151, 6,633,536, 6,978,143, 7,383,022,

7,529,271, 7,599,664, 7,782,818, 7,804,850, 8,165,049, RE44,828, and 8,792,398. (Compl., Dkt

No. 1, at ¶¶ 11, 14, 16 and 23.) In Apple 3, Core Wireless alleges that Apple infringes five

purported “standards-essential” patents, all of which are among those Core Wireless asserts

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against LG. (Case No. 14-cv-007512, Compl., Dkt. No. 1, at ¶¶ 10-14.) Six of the other eight

patents Core Wireless asserts against LG are or were at issue in Core Wireless’ 2012 action

against Apple, which goes to trial in a few weeks.

       The eighteen patents asserted against LG list twenty-seven individual named inventors.

At the time these patents were filed, not one of these individuals was based in the United States.

(Decl. of H. Finn, attached hereto as Ex. A, ¶ 3.) Rather, two were located in London, two were

located in Denmark, one was located in Beijing, and the remaining twenty-two were located in

Finland. (Id. at ¶¶ 2-3.) Because of the overlap in patents among these cases, both Apple and

LG are likely to seek depositions of many of these witnesses. Further, because these witnesses

are not employees of Core Wireless, Apple and LG will likely have to rely on foreign service of

process and procedures to secure their testimony.

       Among the eighteen patents Core Wireless asserts against LG, Core Wireless is asserting

two hundred claims. (Id. at ¶ 4.)

       In the consolidated LG 1 and LG 2 actions, LG’s invalidity contentions are currently due

on March 13, 2015. A claim construction hearing covering all 18 patents is set for August 18,

2015 before Magistrate Judge Payne, and trial is set for March 14, 2016.

       In the Apple 2 and Apple 3 actions, a claim construction hearing covering many of the

same patents is set for August 27, 2015 before Magistrate Judge Love, and a trial is set for

May 2, 2016.

III.   LEGAL STANDARDS

       The Federal Rules of Civil Procedure allow a court to consolidate actions involving

common questions of law or fact. See Fed. R. Civ. P. 42(a). The purpose of consolidation is to

“avoid unnecessary costs or delay.” Frazier v. Garrison I.S.D., 980 F.2d 1514, 1532 (5th Cir.

1993) (quoting Fed. R. Civ. P. 42(a)). Federal courts have broad discretion in deciding whether

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to consolidate cases. Id.

         Courts consider several factors in determining whether consolidation is appropriate,

including: (1) whether the actions are pending before the same court; (2) whether the actions

involve a common party; (3) whether any risk of prejudice or confusion will result from

consolidation; (4) whether any risk of inconsistent adjudications of common factual or legal

questions will result if the matters are tried separately; (5) whether consolidation will reduce the

time and cost of trying the cases separately; and (6) whether the cases are at the same stage of

preparation for trial. Taylor v. Ocwen Loan Servicing, LLC, No. CIV.A. H-12-2929, 2013 WL

3356231, at *1 (S.D. Tex. July 3, 2013); see also Arnold & Co., LLC v. David K. Young

Consulting, LLC, No. SA-13-CV-00146-DAE, 2013 WL 1411773, at *2 (W.D. Tex. Apr. 8,

2013).

IV.      ARGUMENT

         A.     The Court should consolidate the actions according to common patents
                rather than common parties.

         The Court has currently consolidated LG 1 and LG 2, both involving LG, under the

jurisdiction of Magistrate Judge Payne, and the Court has consolidated Apple 2 and Apple 3, both

involving Apple, under the jurisdiction of Magistrate Judge Love. Though the Court’s initial

consolidation of these four actions in this way appears sensible on its face, given the common

defendants, it will have the unintended consequence of creating duplicative work – including

conducting redundant claim construction hearings – on the same patents.

         While all six factors favor the consolidation that LG seeks, the primary factors that

should guide the Court’s decision in this instance are factors (3) and (4), namely, common

questions of law or fact, and whether any risk of inconsistent adjudications of common factual or




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legal questions will result if the matters are tried separately.1

        LG 1 and Apple 2 share five patents in common, and LG 2 and Apple 3 share five patents

in common. Thus, LG 1 and Apple 2 share significant common questions of law or fact,

including issues of claim construction and invalidity. The same is true for LG 2 and Apple 3.

        Local Patent Rule 2-6 further supports the consolidation LG proposes.            That Rule

requires that “[s]eparately filed cases related to the same patent shall be assigned to the same

judge, i.e. the judge assigned to the first related case.” While that is partially true here, in that

Judge Gilstrap is assigned to both of the LG actions and both of the Apple actions, those two sets

of actions have each been assigned separate Magistrate Judges—Judge Payne (LG actions) and

Judge Love (Apple actions).2 The intent of the Rule is to address common issues of law and fact

together, promote judicial efficiency, and prevent the likelihood of inconsistent determinations.

That intent would be better served by having a single Magistrate Judge assigned to the

consolidated LG 1 and Apple 2 action (involving five identical patents) and a single Magistrate

Judge assigned to the consolidated LG 2 and Apple 3 action (involving five identical patents).

        Moreover, as noted above, the Court has set the claim construction hearing for the LG

actions on August 18, 2015 before Judge Payne, while the claim construction hearing in the

Apple actions has been set for August 27, 2015 before Judge Love.              In other words, on

August 18, 2015, Judge Payne will consider claim construction arguments relating to the

1
  It appears that the Court’s earlier decision to consolidate may have been based heavily on factor
(2)—whether the actions involve a common party. But the mere commonality of parties is not a
sufficient justification for consolidating cases when there are very few (if any) common issues of
law or fact therebetween. For instance, the fact that LG 1 and LG 2 both involve LG is an
insufficient basis for consolidating those two cases together, when a separate case against Apple
exists involving identical asserted patents—and, thus, identical issues of law and fact.
2
  Notably, despite the requirements of P.R. 2-6, Core Wireless improperly designated LG 1 as
related to LG 2 in the Civil Cover Sheets, rather than identifying the earlier-filed Apple 1, Apple
2 and Apple 3 actions.

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eighteen patents asserted against LG, and then—a mere nine days later—Judge Love will

consider claim construction arguments relating to ten of the exact same patents considered the

week before by Judge Payne. This fact alone gives rise to a substantial risk that Judges Payne

and Love could reach inconsistent adjudications of common factual or legal questions—for

example, by deciding that the same claim term from the same patent has a different meaning. It

is also possible that Judges Payne and Love will be presented with different evidence at those

hearings, which could further cause such an inconsistent result. These facts counsel heavily in

favor of consolidating the cases along the lines of common asserted patents.

       The discovery leading up to the claim construction hearing(s) likewise counsels in favor

of consolidating the four cases along the lines of common patents. There are twenty-seven

unique inventors named on the patents asserted against LG in LG 1 and LG 2. (Finn Decl.,

Ex. A, ¶ 3.) Fourteen of these inventors will also be potential witnesses in Apple 2 and Apple 3.

The five patents common to Apple 2 and LG 1 (U.S. Pat. Nos. 8,713,476; 8,498,671, 8,434,020,

7,072,667, and 5,907,823) list a total of eight unique inventors—two of whom were based in

Great Britain, two of whom were based in Denmark, and four of whom were based in Finland.

(Finn Decl., Ex. A, ¶ 2.) Likewise, the five patents common to Apple 3 and LG 2 (U.S. Pat.

Nos. 5,946,634, 6,477,151, 6,633,536, 7,782,818, and RE44,828 E) list a total of six named

inventors—all of whom are based in Finland. (Id.) Those fourteen total inventors will each

need to be deposed by both LG and Apple. Given that these witnesses are all located in Europe,

coordinating these depositions will be especially difficult if the respective LG and Apple cases

are not consolidated for purposes of discovery.

       The fact that those depositions would go forward in Europe requires that both Apple and

LG separately submit documents to serve process under the Hague Convention, if the cases are



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not consolidated in the manner requested by LG. In Apple 1, Core Wireless, arranged for the

inventors to voluntarily make themselves available for deposition without requiring service

under the Hague Convention, but Core Wireless has recently indicated to LG’s counsel that it

may not make any such efforts in these upcoming depositions. Thus, under the current schedule,

both LG and Apple will be forced to separately serve process under the Hague Convention and

separately depose at least fourteen inventors in Europe, all in a matter of mere months. The

current consolidation structure and schedule makes it difficult—if not impossible—to comply

with these deadlines, or for LG and Apple to minimize the inconvenience to third parties.

       Considerations of judicial economy also strongly favor consolidation of these cases by

patent and not by party. This Court has already recognized that it “has limited resources and

constantly strives to employ efficient and cost-saving case-management procedures for the

benefit of the parties, counsel and the Court.” Norman IP Holdings, LLC v. Lexmark Int'l, Inc.,

No. 6:11-CV-495, 2012 WL 3307942, at *4 (E.D. Tex. Aug. 10, 2012). In fact, since the

America Invents Act changed the rules regarding joinder, “plaintiffs now serially file multiple

single-defendant (or defendant group) cases involving the same underlying patents.           This

presents administrative challenges for the Court and, left unchecked, wastes judicial resources

by requiring common issues to be addressed individually for each case.” Id. (emphasis added).

That principle applies with full force here. It would be a significant waste of judicial resources

to have Judges Payne and Love separately and independently decide the exact same claim

construction issues of law and fact twice within a matter of days.

       The requirements of factor (1) are met here—the actions are all pending before the same

court (and the same District Judge). Thus, there would be no prejudice to another court or party

by consolidating the cases as LG proposes herein. See Taylor, 2013 WL 3356231, at *1 (“Both



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suits are pending in the Southern District of Texas and involve identical parties.”). Further, there

can be “no contention that any prejudice or confusion will result from consolidation.” Arnold &

Co, 2013 WL 1411773, at *2. Likewise, factors (5) and (6) counsel in favor of consolidation

because all four cases have just begun, have not progressed substantially towards trial, and

consolidating the cases as proposed herein would improve judicial efficiency by setting only a

single Markman hearing for identical patents in separate cases. See id. (“Consolidation will not

cause delay because both cases are still at an early stage and likely will reduce the time and cost

of resolving pretrial motions and trying the cases.”). Accordingly, for the reasons set forth

above, the Court should consolidate Apple 2 with LG 1, and consolidate Apple 3 with LG 2.

Taylor, 2013 WL 3356231, at *1 (granting a motion to consolidate because the “suits involve

common questions of law and fact,” and noting that the fact that “some facts and legal issues

may differ between the suits, which otherwise involve common facts and claims, is not a

sufficient reason to deny the consolidation request”); Arnold & Co., LLC, 2013 WL 1411773, at

*2 (granting a motion to consolidate where two cases both involved interpretation of the same

document (an agreement between the parties), and noting that “consolidation will expedite trial

of these cases and eliminate unnecessary repetition and confusion”).

       B.      The LG actions and Apple actions should have aligned discovery schedules.

       Even if the Court decides not to consolidate the cases based upon the overlapping

asserted patents, then the LG Actions and Apple Actions should at least be aligned on the same

discovery schedule. As set forth above, there are a significant number of issues of both fact and

law that are common to Apple 2 and LG 1, and to Apple 3 and LG 2. Since LG and Apple are

each accused of infringing the same ten patents (over two cases each), it is very likely that LG

and Apple will seek discovery form the same third parties, as well as the same categories of

discovery from Core Wireless. It would be better for judicial economy, and to conserve the

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parties’ resources, if the schedules of the LG and Apple actions were aligned, to enable the

parties to better coordinate these common discovery issues.



         C.      The court should extend the schedule for both LG actions.

         Given the complex international discovery issues discussed above, and considering that

Core Wireless is asserting two hundred claims across eighteen patents (Finn Decl., Ex. A, ¶ 4),

good cause exists to extend the trial date and other discovery deadlines.3 Particularly, LG

requests that the deadline for LG’s invalidity contentions, all claim construction dates, the close

of fact discovery, and trial all be extended by approximately ninety days. A proposed schedule is

attached hereto as Exhibit B.

         The good cause standard “require[s] the movant ‘to show that the deadlines cannot

reasonably be met despite the diligence of the party needing the extension.’” Puig v. Citibank,

N.A., 514 Fed. Appx. 483, 487-88 (5th Cir. 2013) (per curiam) (quoting S&W Enters., L.L.C. v.

Southtrust Bank of Ala., NA, 315 F.d 533, 535 (5th Cir. 2003). Under Fed. R. Civ. P. 16(b)(4),

courts consider four factors in determining whether good cause exists to modify a scheduling

order: “(1) the explanation for failure to timely move for leave to amend; (2) the importance of

the amendment; (3) potential prejudice in allowing the amendment; and (4) the availability of a

continuance to cure such prejudice.” S&W Enters., L.L.C., 315 F.3d at 536 (quoting Reliance

Ins. Co. v. La. Land & Exploration Co., 110 F.3d 253, 257 (5th Cir.1997)).

         LG’s motion is timely, is highly important to address the significant discovery issues

discussed herein, and offers no real prejudice to Core Wireless.

         LG’s initial invalidity contentions are currently due on March 13, 2015. Given the

eighteen asserted patents and two hundred asserted claims, and the fact that LG has not yet had
3
    A scheduling conference has not yet occurred in Apple 1 or Apple 2.

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an opportunity to conduct any discovery, meeting that deadline will be quite challenging.

Further, that deadline does not permit LG to share the burden of preparing invalidity contentions

for 200 asserted claims with Apple, since Apple has not yet received infringement contentions

from Core Wireless for the Apple 2 and Apple 3 cases, and does not yet have a date by which its

own invalidity contentions will be due. An additional ninety days should permit LG to fully

address the 200 asserted claims.

       The parties will also need additional time to take depositions. LG (and potentially Apple)

will have to take at least twenty-seven depositions of named inventors, none of whom appear to

reside in the United States. As the Court is well aware, the Hague Convention, which governs

the service of process for seeking depositions abroad, presents a notoriously complex and time-

consuming process, which often makes it difficult to depose witnesses on tight time frames.

Here, the Court has set the deadline for the parties’ opening claim construction brief on July 7,

2015. It will be very difficult to secure these depositions through the Hague Convention with

adequate time to enable LG to begin preparing its opening brief by June 23, 2015—the date set

by the Court for completion of claim construction discovery. If the Court decides not to

consolidate the actions by patent, that difficulty will be compounded by the fact that Apple will

be working to simultaneously depose the same inventors sought by LG. Thus, in view of the

difficulties of working through the complexity of the Hague Convention to serve process and

scheduling numerous depositions abroad over the course of only a few months, LG respectfully

requests that the Court extend the deadlines for claim construction briefs and charts, and the date

for the claim construction hearing, by ninety days.

       Likewise, good cause exists to extend the deadline for fact discovery in this case. While

fact discovery has not even truly begun, it is clear that it will be an intensive process for Core



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Wireless and LG. Core Wireless has asserted infringement of eighteen patents against LG,

including the assertion of two hundred claims. Currently, few documents have been produced

by either LG or Core Wireless,4 and the Court has set the deadline for the end of fact discovery

on October 12, 2015—just over eight months away.5 It will be incredibly difficult for the parties

to exchange complete discovery for eighteen asserted patents, and two hundred asserted claims,

in eight months—much less depose the dozens of inventors, prior artists, prosecuting attorneys,

and third party witnesses. In Apple 1, the initial status conference was held August 6, 2012, and

the fact discovery deadline was set for December 6, 2013—a total of sixteen months, for the

eight patents asserted in that case. (Ex. C, at 4, 10.) By that standard, it seems inconceivable

that LG could possibly complete discovery on eighteen patents in just over ten months. Thus,

LG respectfully requests that the Court extend the deadline for the close of fact discovery by

ninety days.

       Finally, even with all the diligence it could muster, it seems highly unlikely that LG

could be prepared to go to trial on two hundred claims from over eighteen patents by March 14,

2016—a mere thirteen months away. In Apple 1, the initial Docket Control Order set trial for

January 5, 2015,6 which is just under twenty-nine months after the initial status conference, for a

case involving eight patents. (Ex. C, at 4.) It is difficult to see how a pre-trial period of thirteen

4
  Core Wireless made a small production in connection with its infringement contentions, but
that production comprises only the asserted patents, those patents’ prosecution file histories,
documents and correspondence relating to prosecution, patent assignments and abstracts,
intellectual property rights information statements and licensing declarations, invention reports,
and annotated publications.
5
   Attempting to expedite discovery, LG has twice requested that Core Wireless produce
documents or at least give LG access to those documents from the earlier Apple case. Core
Wireless has refused stating that despite Local Patent Rule 3.2, LG’s request was a premature
document request (Ex. D), that was still under consideration 45 days later (Ex. E). Core
Wireless’ lack of cooperation on simple discovery issues foreshadows the difficulties that LG
may be presented in completing discovery in the minimal time provided by the Court.
6
  Trial was ultimately pushed back to March 2015.

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months for eighteen patents in this case could be diligently pursued, in view of Apple 1

(involving three identical patents asserted against LG) providing more than twice that amount of

time, even though it involved less than half of the number of asserted patents.

       For each of these reasons, the amendment to the schedule is important to allow the parties

to adequately prepare their claims and defenses. Core Wireless would suffer no prejudice from

the amendment, and LG has diligently requested this extension. As set forth above, there are

simply far too many patents at issue between LG and Core Wireless to expect the parties to be

ready for trial in a mere thirteen months.

       Accordingly, independent of whether the Court consolidates the four actions by patent, or

otherwise aligns the schedules between the LG and Apple actions, LG respectfully requests that

the Court extend the deadlines in the Sample Docket Control Order by approximately ninety

days, as set forth in Exhibit B.

V.     CONCLUSION

       For the foregoing reasons, LG respectfully requests that this Court consolidate Apple 2

with LG 1, and consolidate Apple 3 with LG 2. Absent such relief, LG respectfully requests that

the Court enter an Order aligning the schedules of the LG Actions and the Apple Actions.

Finally, LG respectfully submits that it has shown good cause for extending the dates of the

claim construction hearing, fact discovery and trial in this case by approximately ninety days.

       Dated: February 3, 2015                       Respectfully Submitted,

                                                     /s/ Herbert H. Finn
                                                     Richard D. Harris (Illinois Bar # 1137913)
                                                     Herbert H. Finn (Illinois Bar # 6205685)
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                                                    finnh@gtlaw.com



                            CERTIFICATE OF CONFERENCE

       I hereby certify that counsel for Defendants conferred with counsel for Plaintiff on

January 29, 2015 and subsequently. Plaintiff’s counsel confirmed that Plaintiff opposes the

proposed consolidation, alignment, and extension of dates sought herein.

                                                    /s/ Herbert H. Finn
                                                    Herbert H. Finn



                                CERTIFICATE OF SERVICE

       I hereby certify that all counsel of record who are deemed to have consented to electronic

service are being served this 3rd day of February, 2015, with a copy of this document via ECF.

                                                    /s/ Herbert H. Finn
                                                    Herbert H. Finn




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